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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
VS.                                                §            CASE NO. 1:12-CR-87
                                                   §
                                                   §
MARCELO MORALES                                    §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 13, 2013, this case came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the Defendant, Marcelo Morales, to Count Two of the Indictment.

Count Two of the Indictment alleges that from on or about January 1, 2006, to on or about June 18,

2012, in the Eastern District of Texas and elsewhere, the Defendant and others, did knowingly,

willfully, and unlawfully conspire, combine, confederate, and agree with others known and unknown

to the Grand Jury, to commit offenses against the United States, that is, to conduct and attempt to

conduct financial transaction affecting interstate and foreign commerce, which involved the proceeds

of a specified unlawful activity, to wit: conspiracy to distribute and possess with intent to distribute

five (5) kilograms or more of a schedule II controlled substance, namely cocaine HCL, in violation



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of 21 U.S.C. § 846, knowing that the property involved represented the proceeds of some form of

unlawful activity, with the intent to conceal and disguise the nature, source or ownership of such

proceeds in violation of 18 U.S.C. § 1956 (a)(1)(B)(I), said financial transactions being the receiving

of or attempting to receive and the delivery or attempted delivery of a bulk money shipments of

Untied State currency received from purchasers of cocaine HCL provided by the Lamas drug

trafficking organization for the purpose of delivery to co-conspirators in the Southern District of

Texas via transportation of the tainted proceeds throughout the Eastern District of Texas, all in

violation of Title 18, United States Code, Section 1956(h).

       The Defendant, Marcelo Morales, entered a plea of guilty to Count Two of the Indictment

into the record at the hearing. After conducting the proceeding in the form and manner prescribed

by Federal Rule of Criminal Procedure 11, the undersigned finds:

       a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which was

disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

verified that he understood the terms of the plea agreement, agreed to the Government’s summary

of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM. P. 11

(c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court does

not follow the particular recommendations or requests. To the extent that any or all of the terms of



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the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

particular terms of the plea agreement.1

         c.        That the Defendant is fully competent and capable of entering an informed plea, that

the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

did not result from force, threats or promises (other than the promises set forth in the plea

agreement). See FED. R. CRIM. P. 11(b)(2).

         d.        That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes that

his conduct falls within the definition of the crime charged under 18 U.S.C. § 1956(h).

                                          STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government would prove that Marcelo Morales

is one and the same person charged in the Indictment and that the events described in the Indictment


         1
           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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occurred in the Eastern District of Texas and elsewhere. The Government would also have proven,

beyond a reasonable doubt, each and every essential element of the offense as alleged in Count Two

of the Indictment through the testimony of witnesses, including expert witnesses, and admissible

exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence

described in detail in the factual basis and stipulation, and the representations made by counsel for

the Government at the hearing.

       The Defendant, Marcelo Morales, agreed with and stipulated to the evidence presented in the

factual basis and agreed to the Government’s proffer. Counsel for the Defendant and the

Government attested to the Defendant’s competency and capability to enter an informed plea of

guilty. The Defendant agreed with the evidence presented by the Government and personally

testified that he was entering his guilty plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Two of the Indictment. Accordingly, it is further

recommended that the Defendant be finally adjudged guilty of the charged offense under Title 18,

United States Code, Sections 1956(h), and the District Court should accept the plea agreement.

       The Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. The Defendant has the right to allocute before the District Court

before imposition of sentence.




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                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

safeguards afforded by Congress and the courts require that, when a party takes advantage of his

right to object to a magistrate’s findings or recommendation, a district judge must exercise its

nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

(5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


      SIGNED this 14th day of November, 2013.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge




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